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 UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  DEMETRIUS HILL,
                                                    AZ-5918
                                       Plaintiff,
                                                    DEFENDANTS’
                    -against-                       STATEMENT PURSUANT
                                                    TO LOCAL RULE 56.1
  THE COUNTY OF SUFFOLK, Al Tisch,
  Sheriff, West Bagnowski, Warden, Murphy           CV 02-3901(DRH) (MLO)
  Dep. Warden, Mr. Geslak, Captain, Mr. Singer,
  Liutanant, Mr. Leehman, Liutanant, Sgt.
  Kearsey; Sgt. Walsh; Mr. Reynolds, Correction
  Officer, Mr. Sanicruz, Correction Officer, Mr.
  Jonesy, Correction Officer, John Doe, John
  Doe, John Doe S.E.R.T. of 4/3/02, John Doe,
  John Doe, John Doe S.E.R.T. of 4/3/02, John
  Doe, Doctor, at night of 4/3/02,

                                     Defendant.

         Defendants submit the following as and for their Statement Pursuant To

 Local Rule 56.1:

         1)    Plaintiff Demetrius Hill (“Hill”) was incarcerated in the Suffolk

 County Correctional Facility (“SCCF”) from March 29, 2002 to September 18,

 2002.

         2)    Upon his admission to the SCCF on March 29, 2002, Hill received

 a copy of the Inmate Rule and Regulations Booklet and signed a booking sheet

 beneath the words “I have also received a Telephone Call, the SCCF Inmate

 Rules and Regulations Booklet and Admissions Kit”, thereby acknowledging

 his receipt of said booklet (copy of booking sheet annexed as exhibit A);

         3)    The SCCF Inmate Rules and Regulations booklet, 2000 Revision,

 which was received by Hill on March 29, 2002, sets forth the procedures for
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 administrative review of inmate grievances under the heading “Inmate

 Grievance Program” at pages 15-16 (copy of pages 15-16 annexed as exhibit B);

       4)    This procedure provides for the filing of written grievance forms by

 inmates.

       5)    Although Hill filed numerous written grievances pursuant to the

 Inmate Grievance Program while incarcerated in the SCCF (copy of Hill’s

 Grievance File annexed as exhibit C), he never filed any grievances concerning

 the incidents set forth in the complaint.

 DATED:      Hauppauge, New York             Yours, etc
             January 4, 2008                 CHRISTINE MALAFI
                                             Suffolk County Attorney
                                             Attorney for the Defendants
                                             H. Lee Dennison Building
                                             100 Veterans Memorial Highway
                                             P. O. Box 6100
                                             Hauppauge, New York 11788


                                      BY:    _______________________________
                                             Arlene S. Zwilling/AZ-5918
                                             Assistant County Attorney
 To:
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 Plaintiff Pro Se
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